UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

COLIGNY REJOUIS, PPA DIONY
REJOUIS, MARSHA PHILEMOND and

DIONY REJOUIS,

Plaintiffs Civil Action No.

18-11458-FDS
v.
AMY KOHUT, CNM, and GOOD

SAMARITAN MEDICAL CENTER,
Defendants

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ORDER

The Court having been apprised that the United States Attorney has certified that
defendant Amy Kogut, CNM, was acting within the scope of her federal employment at the time
of the incidents giving rise to Counts | through IX of the Complaint, and the Court having been
apprised of the substitution of the United States of America as the defendant on those counts
pursuant to 28 U.S.C. § 2679(d)(1), hereby:

ORDERS that Counts I through [X are dismissed as against Amy Kogut, CNM, and the
United States of America is substituted as the defendant in her place; and,

FURTHER ORDERS that the caption of this action shall be amended to reflect the

substitution of the United States of America for Amy Kogut, CMN.

Dated: £4% “GF , 2018 Bb,

F. DENNIS SAYLOR, IV
UNITED STATES DISTRICT JUDGE
